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                                                                                 U.S. BANKRUPTCY COURT
                                                                               NORTHERN DISTRICT OF TEXAS


                                                                                  ENTERED
                                                                               TAWANA C. MARSHALL, CLERK
                                                                                  THE DATE OF ENTRY IS
                                                                                 ON THE COURT'S DOCKET



The following constitutes the ruling of the court and has the force and effect therein described.



 Signed March 27, 2014
______________________________________________________________________




                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
                                      DALLAS DIVISION

     In re:                                          § Chapter 15
                                                     §
     MtGox Co., Ltd. (a/k/a MtGox KK)                § Case No. 14-31229-sgj-15
                                                     §
              Debtor in a Foreign Proceeding         §
                                                     §

       ORDER REGARDING MOTION FOR SETTING AND REQUEST FOR EXPEDITED
       HEARING ON CREDITORS GREGORY GREENE AND JOSEPH LACK’S MOTION
         FOR AN ORDER PURSUANT TO BANKRUPTCY RULE 2004 COMPELLING
         DEPOSITION TESTIMONY IN THE UNITED STATES FROM THE FOREIGN
                              REPRESENTATIVE

            The request for an expedited hearing on Creditors Gregory Greene and Joseph Lack’s
     Motion for an Order Pursuant to Bankruptcy Rule 2004 Compelling Deposition Testimony in the
     United States From the Foreign Representative is GRANTED.

             __X__ A hearing will be held before the Honorable Stacey G. Jernigan, 1100 Commerce
     Street, Courtroom #1, Dallas, Texas, on Tuesday, April 1, 2014 at 1:30 p.m. Counsel for
     Gregory Greene shall serve this Order on interested parties.

              ____   No expedited hearing will be scheduled.

                                        # # # END OF ORDER # # #
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 Submitted by:

 Robin E. Phelan, TBN 15903000
 Stephen Manz, TBN 24070211
 HAYNES AND BOONE, LLP
 2323 Victory Avenue, Suite 700
 Dallas, Texas 75219
 Telephone: 214.651.5000
 Facsimile: 214.651.5940
 Email: robin.phelan@haynesboone.com
 Email: stephen.manz@haynesboone.com

 and

 Steven L. Woodrow (admitted pro hac vice)
 EDELSON PC
 999 West 18th Street, Suite 3000
 Denver, Colorado 80202
 Telephone: (303) 357-4878
 Facsimile: (303) 446-9111
 Email: swoodrow@edelson.com

 and

 Jay Edelson (admitted pro hac vice)
 Alicia E. Hwang (admitted pro hac vice)
 EDELSON PC
 350 North LaSalle Street, Suite 1300
 Chicago, IL 60654
 Telephone: 312.589.6370
 Facsimile: 312,589.6378
 Email: jedelson@edelson.com
 Email: ahwang@edelson.com

 and

 Scott B. Kitei (admitted pro hac vice)
 HONIGMAN MILLER SCHWARTZ AND COHN LLP
 2290 First National Bldg.
 660 Woodward Ave.
 Detroit, MI 48226
 Telephone: 313.465.7524
 Facsimile: 313.465.7525
 Email: skitei@honigman.com

 ATTORNEYS FOR GREGORY GREENE
 AND JOSEPH LACK




 D-2253452_1
